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                         Exhibit C
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To:              USAID/Kenya and East Africa Implementing Partners

From:            Jonathan Chappell, Supervisory Contracting/Agreement Officer (CO/AO), Office of
                 Acquisition and Assistance

Date:            May 5, 2025

Subject:         Transition Guidance for USAID/Kenya and East Africa Awards

Dear USAID/KEA Implementing Partner,

The State Department intends to assume responsibility for the administration of all remaining USAID
programs pursuant to a directive from U.S. Secretary of State Marco Rubio, in his capacity as the acting
Administrator for USAID. The purpose of this letter is to provide guidance leading to this transition.

For all partners, USAID’s procurement and payment systems will transition to the U.S. Department of State
on July 1, 2025. Information about the processes for award administration and payments after July 1, 2025
will be forthcoming from the U.S. Department of State or USAID Washington. Please also note that all
USAID/KEA COs/AOs will depart Kenya by June 6, 2025. Information about the transitioning of awards to
other COs/AOs, either within USAID or the U.S. Department of State, will also be forthcoming.

For partners with terminated awards, USAID/KEA is working to address disposition and budgeting requests
to the extent possible during the next 30 days. If you have not done so already, we ask that partners under
terminated awards focus on the following:

      1. Property Disposition: Please submit a property disposal plan in accordance with the terms of your award
         and/or the termination notice you received.
      2. Closeout Costs:
             a. Cooperative Agreements - Please prepare and provide your final payment requests in accordance
                 with the terms of your award and the guidance in your termination letter.
             b. Fixed Amount Awards - Please prepare and submit any final payment request and
                 certification/proof of milestone completion(s) as soon as possible. Provide sufficient information
                 and documentation to allow the Agreement Officer to review the actual costs incurred by the
                 Recipient with regard to partially completed milestone(s).
             c. Acquisition - Please prepare your Settlement Proposal in accordance with the terms of your
                 award and the guidance in your termination letter.

Address your requests to the cognizant Contracting/Agreement Officer and the Acquisition and Assistance
Specialist for your award. Be sure to include the COR/AOR for your award on all messages. Please also cc
eastafricakenya.OAA@usaid.gov.

Regards,

Jonathan Chappell Digitally signed by Jonathan Chappell
                  Date: 2025.05.05 07:46:06 +03'00'

Jonathan Chappell
Supervisory Contracting and Agreement Officer
USAID/KEA
